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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                           Criminal No. 16-344 (MJD)

 UNITED STATES OF AMERICA,

                      Plaintiff,

        v.                                       POSITION OF THE UNITED
                                                 STATES AS TO SENTENCING
 MARLYN CHARLES COMES,

                      Defendant.


      The United States of America, by and through its attorneys, Gregory G. Brooker,

United States Attorney for the District of Minnesota, and John Kokkinen, Assistant U.S.

Attorney, hereby submits its position as to sentencing for Marlyn Charles Comes.

                                    BACKGROUND

      The United States agrees that the facts as set forth in the Presentence Investigation

Report (“PSR”) accurately summarize the relevant offense conduct and requests that the

Court adopt the facts summarized in the PSR. As described in the PSR, Comes pleaded

guilty to the sole count of the information, which charged him with conspiracy to commit

health care fraud, in violation of 18 U.S.C. § 1349. The charges stem from Comes’s

operation of his chiropractic practice in St. Paul, Minnesota. To build and maintain a base

of patients, Comes paid individuals known as “runners” as much as $1,200 for every person

involved in an automobile accident whom the runners were able to successfully recruit to

become patients at Comes’s clinic. (PSR ¶¶ 9-10.) To ensure that his $1,200 investment

was worthwhile, Comes typically withheld the kickback payment to the runners until the

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patient had attended a pre-determined number of treatment sessions. (Id. ¶ 10.) The pre-

determined number of treatments applied to all patients who were the result of a kickback

regardless of the unique condition of the patient or his or her response to treatment. (Id.)

Thus, the pre-determined number of treatments was designed enable Comes to submit

enough bills to the patient’s automobile insurance company to offset the kickback payment

and cover his other overhead expenses. (Id.)

       Comes’s practice of making kickback payments to runners was contrary to various

state laws and was material to insurance companies. (See id. ¶ 7.) This is because the

practice raises concerns about the medical necessity of the treatments. It raises questions

about whether patients sought treatment and attended the number of treatments they

attended because they truly needed all of those treatments or because they were getting

paid by the runner—something that happened frequently and something of which Comes

was aware. (Id. ¶ 10.) It also raises concerns about whether Comes prescribed a treatment

plan that was based solely on the needs of the patient rather than on his own interest in

recouping the kickback payment. (See id. ¶ 7.) Accordingly, Comes took steps to prevent

insurance companies from learning the material information about his practice of

employing runners to procure patients, including by, for example, falsely characterizing

the payments as having been for translation or interpretation and instructing runners to

coach patients about how to respond to their insurance company if they were asked how

they ended up becoming a patient of Comes’s clinic. (Id. ¶ 10.)

       Over the course of several years, Comes paid more than $370,000 to one single

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runner, Sahal Warsame, for the referral of approximately 230 patients. (Id. 13.) Based on

Comes’s average billings to insurance companies, a reasonable estimate is that Comes

realized approximately $633,420 from automobile insurance companies for the

approximately 230 patients who had been referred to Comes by Warsame in exchange for

a kickback. (Id.)

                    SENTENCING GUIDELINES CALCULATION

         In Gall v. United States, the Supreme Court set forth the appropriate sentencing

methodology, and the first step is to calculate the advisory Guidelines range. 552 U.S. 38,

49-50 (2007). As the PSR correctly observed, the base offense level for a conviction for

conspiracy to commit health care fraud is six. (PSR ¶ 21.) The PSR correctly assessed a

fourteen-level increase because the loss amount was more than $550,000 but not more than

$1,500,000 and a two-level increase because Comes used special skill that significantly

facilitated the commission of the offense. (Id. ¶¶ 22, 25.) Applying a three-level reduction

for acceptance of responsibility, the PSR correctly calculates the total offense level of 19.

(Id. ¶¶ 29-31.) Based on a total offense level of 19 and a criminal history category of I, the

Guidelines range is 30 to 37 months’ imprisonment. (Id. ¶ 62.) The guidelines further

recommend one to three years of supervised release. (Id. ¶ 65.) The recommended fine

range is $6,000 to $60,000. (Id. ¶ 71.) The Mandatory Victim Restitution Act applies and

the total restitution amount that to date has been claimed by a victim is $310,722.24. (Id.

¶ 73.)




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                      SECTION 3553(a) SENTENCING FACTORS

       After calculating a defendant’s Sentencing Guidelines range and hearing from the

parties, the Court must consider applicable sentencing factors under 18 U.S.C. § 3553(a)

to determine an appropriate sentence. Gall, 552 U.S. at 49-50. Section 3553(a) requires

the Court to analyze a number of factors, including the nature and circumstances of the

offense; the history and characteristics of the defendant; the need for the sentence to reflect

the seriousness of the offense, promote respect for the law, provide punishment for the

offense, afford adequate deterrence to criminal conduct, and protect the public from further

crimes of the defendant; and the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct. 18 U.S.C.

§ 3553(a).

       Health care fraud is a serious problem in the United States. Although the offense

here appears not to have affected the Medicare and Medicaid programs, estimates of the

harm caused by fraud to those programs is helpful in appreciating the impact that fraud has

on private plans, such as the automobile insurance policies that were affected by this

offense. The Office of Management and Budget estimated that for fiscal year 2010, more

than $70 billion was lost by Medicare and Medicaid to improper payments, much of which

was caused by fraud schemes. See U.S. Government Accountability Office, Highlights,

Medicare and Medicaid Fraud, Waste, and Abuse (Mar. 9, 2011), available at

http://www.gao.gov/assets/130/125646.pdf. It is estimated that the United States spends

more than $2 trillion on health care each year and that tens of billions of those dollars are


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attributable to fraud. See The Challenge of Health Care Fraud, National Health Care Anti-

fraud Association, available at https://www.nhcaa.org/resources/health-care-anti-fraud-

resources/the-challenge-of-health-care-fraud.aspx (accessed January 25, 2018). The harm

caused by Comes’s offense is not hypothetical. As one of the victim insurance companies

alluded to in its victim impact statement, Minnesota drivers end up paying more for their

automobile insurance policies as a result of fraud schemes like the one Comes employed.

                                      CONCLUSION

        The United States respectfully requests that the Court first take the advisory

guidelines into account as the starting point of its analysis, then render its final

determination in light of all of the factors set forth in 18 U.S.C. § 3553(a) relevant here,

including all filings in this case.

Dated: January 25, 2018                                 Respectfully submitted,

                                                        GREGORY G. BROOKER
                                                        United States Attorney

                                                        /s/ John Kokkinen

                                                        BY: JOHN KOKKINEN
                                                        Attorney ID No. 388356
                                                        Assistant U.S. Attorney




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